        Case 9:17-cr-00012-DLC Document 106 Filed 08/25/17 Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

 UNITED STATES OF AMERICA,                             CR 17–12–M–DLC–1

                      Plaintiff,
                                                              ORDER
        vs.

 JOHN THOMAS GIBLIN III,

                      Defendant.

      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on August 10, 2017. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept John Thomas Giblin III’s

guilty plea after Giblin appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered a plea of guilty to one count of wire fraud in violation

                                           1
        Case 9:17-cr-00012-DLC Document 106 Filed 08/25/17 Page 2 of 2



of 18 U.S.C. § 1343 (Count 7) and one count of aggravated identity theft in

violation of 18 U.S.C. § 1028A(a)(1) (Count 17), as set forth in the Indictment. In

exchange for Defendant’s plea, the United States has agreed to dismiss Counts 1,

3, 4, 8, 13, 14, and 18 of the Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

98), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that John Thomas Giblin III’s motion to

change plea (Doc. 73) is GRANTED and John Thomas Giblin III is adjudged

guilty as charged in Counts 7 and 17 of the Indictment.

      DATED this 25th day of August, 2017.




                                             2
